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1                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK
2
        NIKE, INC.                         )
3                                          )
        vs.                                ) CASE NO. 1:22-cv-00983-VEC
4                                          )
        STOCKX, LLC                        )
5
6
7                        ORAL VIDEOTAPED DEPOSITION
8                                 DEJONGH WELLS
9                               August 30, 2023
10
11             ORAL VIDEOTAPED DEPOSITION OF DEJONGH WELLS,
12      produced as a witness at the instance of the
13      Plaintiff and duly sworn, was taken in the
14      above-styled and numbered cause on the 30th day of
15      August, 2023, from 9:43 a.m. to 3:03 p.m., before
16      Shauna Foreman, Certified Shorthand Reporter in and
17      for the State of Texas, reported by computerized
18      stenotype machine at the offices of DLA Piper, 845
19      Texas Avenue, Suite 3800, Houston, Texas, pursuant to
20      the Federal Rules of Civil Procedure and the
21      provisions stated on the record or attached hereto.
22
23
24
25

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                                                                        Page 2

1                                         APPEARANCES
2
3       FOR PLAINTIFF:
4            MICHAEL FLUHR, ESQ.
             GABRIELLE VELKES, ESQ.
5            DLA PIPER
             555 Mission Street
6            Suite 2400
             San Francisco, California                         94105
7
        FOR DEFENDANT:
8
             MEGAN K. BANNIGAN, ESQ.
9            KATHYRN C. SABA, ESQ.
             DEVEBOISE PLIMPTON
10           66 Hudson Boulevard
             New York, New York  10001
11           E-mail: mbannigan@debevoise.com
12      ALSO PRESENT:
13           Cynthia Joseph, Videographer
             Kim Van Voorhis
14
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1              Q.    At a point in my career, I spent 10 years
2       working on car crash cases.
3              A.    Working on --
4              Q.    Car crashes, for no clear reason.                   And so,
5       I spent a lot of time with the Kelly Blue Book over
6       the years.     I want to get more into this idea that
7       StockX is for the sneaker market what the Kelly Blue
8       Book is for the car market.
9                          Can you just tell me more about what
10      you mean by that?
11             A.    So -- and this goes really to the -- the
12      beginning of 110 in my report where I write "StockX
13      is also valuable for any sneakerheads because it
14      provides detailed, otherwise difficult to obtain
15      information like sales history, average sales price
16      for every model of sneaker."
17                         Just as I would or did on Kelly Blue
18      Book, I look at StockX to see the details about a
19      particular sneaker.         The data that's available to us
20      as sneakerheads, we're able to pull a lot of that
21      data that wasn't available in years past prior to
22      StockX existing.
23             Q.    Do you think that sneakerheads pay more
24      attention to price than non-sneakerheads?
25             A.    Repeat the question.

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